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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,
                                        Case No. 1:13-CR-065-BLW
            Plaintiff,
                                        ORDER APPROVING STIPULATION
     vs.                                REGARDING TIME TO FILE THIRD
                                        PARTY CLAIM
ELAINE MARTIN,

            Defendant.




     Finding good cause,

     NOW THEREFORE IT IS HEREBY ORDERED that the Stipulation

(docket no. 338) is APPROVED.



                                          DATED: March 25, 2014


                                          _________________________
                                          B. Lynn Winmill
                                          Chief Judge
                                          United States District Court




ORDER - 1
